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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION


UNITED STATES OF AMERICA

v.                                       CRIMINAL NO. 1:12CR52(15) LG-RHW

SHAUN GERMELLE WASHINGTON

              ORDER DENYING MOTION FOR COPY OF PLEA
              AGREEMENT AND SENTENCING TRANSCRIPT

       BEFORE THE COURT is defendant Washington’s letter motion [511]

requesting a copy of his plea agreement and sentencing transcript at taxpayer

expense. He asserts that “I am currently indigent and I need a copy of my plea

agreement and sentencing hearing transcripts.”

       The Supreme Court has held that “expenditure of public funds [on behalf of

an indigent litigant] is proper only when authorized by Congress.” United States v.

MacCollom, 426 U.S. 317, 321 (1976). Accordingly, an indigent litigant must

demonstrate a particularized need for the transcript or other documents. Id. at

323-330; 28 U.S.C. § 753(f). A defendant cannot conduct a “fishing expedition” to

find something that may support post-conviction motions. United States v.

Caravajal, 989 F.2d 170 (5th Cir. 1993). By providing no reason for his request,

Washington has not met his burden of showing that he has a particularized need for

the documents requested. Accordingly, his motion for transcripts and plea

agreement at taxpayer expense will be denied.

       IT IS THEREFORE ORDERED AND ADJUDGED that the defendant’s
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motion [511] for a copy of his plea agreement and sentencing transcript at taxpayer

expense is DENIED.

      SO ORDERED AND ADJUDGED this the 21st day of November, 2013.



                                              s/   Louis Guirola, Jr.
                                              LOUIS GUIROLA, JR.
                                              CHIEF U.S. DISTRICT JUDGE




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